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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW MEXICO

DWIGHT DURAN, et al.,

       Plaintiffs,

v.                                                  Case No. 1:77-cv-00721-KG-KK

SUSANA MARTINEZ, Governor, et al.,

       Defendants.

                                CERTIFICATE OF SERVICE

       I hereby certify that I served true and correct copies of the following documents:

        1) Defendants’ Fifth Supplemental Responses to Plaintiffs’ Third Set of Requests for
Production upon Plaintiffs’ class counsel via electronic mail on June 5, 2018, with documents
responsive to those Requests, upon Reed Bienvenu, Plaintiffs’ class counsel, via hand-delivery of
a flash drive on June 5, 2018, and 2) Defendants’ Third Supplemental Answers to Plaintiffs’
Second Set of Interrogatories and 3) Defendants’ Supplemental Responses to Plaintiffs’ Sixth Set
of Requests for Production of Documents via electronic mail on June 12, 2018, with documents
responsive to those Requests, upon Reed Bienvenu, Plaintiffs’ class counsel, via hand-delivery of
a flash drive on June 12, 2018.

Alexandra Freedman Smith
Law Offices of Alexandra Freedman Smith
asmith@smith-law-nm.com

Mark H. Donatelli
Reed C. Bienvenu
Rothstein Donatelli LLP
mhd@rothsteinlaw.com
rbienvenu@rothsteinlaw.com

Peter Cubra
Law Offices of Peter Cubra
pcubra@qwestoffice.net

Philip B. Davis
Nicholas T. Davis
Law Office of Philip B. Davis
davisp@swcp.com
davisn@swcp.com
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Katherine Loewe
Law Firm of Ryan J. Villa
kate@rjvlawfirm.com
2501 Rio Grande Blvd., #A
Albuquerque, NM 87104


June 12, 2018                             HECTOR H. BALDERAS
                                          New Mexico Attorney General

                                          /s/ M. Victoria Amada
                                          M. Victoria Amada
                                          Becki Branch
                                          Ari Biernoff
                                          Assistant Attorneys General
                                          P.O. Drawer 1508
                                          Santa Fe, NM 87504-1508
                                          (505) 717-3500
                                          vamada@nmag.gov
                                          rbranch@nmag.gov
                                          abiernoff@nmag.gov

                                          Attorneys for Defendants




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